                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                     CIVIL ACTION NO. 5:20-CV-00070-KDB-DSC


 SUNBELT RENTALS INC.,                             )
                                                   )
                   Plaintiff,                      )
                                                   )
 v.                                                )
                                                   )               ORDER
 MICHAEL GUZMAN, JESSICA                           )
 GUZMAN AND SECOND LIFE                            )
 EQUIPMENT LLC,                                    )
                                                   )
                 Defendants.                       )



       THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

Affidavit [for James S. Bell]” (document #55) filed November 3, 2020. For the reasons set forth

therein, the Motion will be granted.


       The Clerk is directed to send copies of this Order to counsel for the parties and to the

Honorable Kenneth D. Bell.


       SO ORDERED.



                                       Signed: November 5, 2020




      Case 5:20-cv-00070-KDB-DSC Document 56 Filed 11/05/20 Page 1 of 1
